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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

POPSOCKETS LLC,
Plaintiff,

V.

6109656, et al.,

Defendants.

 

 

Case No. 19-cv-00912
Judge Virginia M. Kendall

Magistrate Judge Sidney I. Schenkier

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on April 18, 2019 [53], in favor

of Plaintiff PopSockets LLC (“PopSockets” or “Plaintiff”), and against the Defendants Identified

in Schedule A in the amount of one hundred fifty thousand dollars ($150,000) per Defaulting

Defendant, and Plaintiff acknowledges payment of an agreed upon damages amount, costs, and

interest and desires to release this judgment and hereby fully and completely satisfy the same as

to the following Defendant:

 

Defendant Name

Line No.

 

Trinkets Maker International

 

 

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THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

 
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Dated this 24th day of May 2019.

 

Amy C. Ziegler
Justin R. Gaudio

Allyson M. Martin

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Counsel for Plaintiff PopSockets LLC

Subscribed and sworn to me by Allyson M. Martin, on this 24th day of May 2019.

Given under by hand and notarial seal.

 
 

CAITLIN SCHLIE
Official Seal
Notary Public - State of lilinois
My Commission Expires Nov 20, 2021

      
   

Notary Public

State of Illinois
County of Cook
